Case 23-06782   Doc 789-2   Filed 12/13/24 Entered 12/13/24 11:40:20   Desc Exhibit
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                                    Exhibit B

                            Eby-Brown Proof of Claim




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             Case
               Case
                  23-06782
                     23-06782DocClaim
                                 789-221 Filed
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                                                                                            Exhibit
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                                                  Page 2 of 12
  Fill in this information to identify the case:

  Debtor 1          IYS  Ventures, LLC
                    __________________________________________________________________

  Debtor 2              ________________________________________________________________
  (Spouse, if filing)

  United States Bankruptcy Court for the: __________
                                          Northern District of of
                                                      District     __________
                                                               Illinois

  Case number           23-06782
                        ___________________________________________




 Official Form 410
 Proof of Claim                                                                                                                                                    

 Read the instructions before filling out this form. This form is for making a claim for payment in a bankruptcy case. Do not use this form to
 make a request for payment of an administrative expense. Make such a request according to 11 U.S.C. § 503.
 Filers must leave out or redact information that is entitled to privacy on this form or on any attached documents. Attach redacted copies of any
 documents that support the claim, such as promissory notes, purchase orders, invoices, itemized statements of running accounts, contracts, judgments,
 mortgages, and security agreements. Do not send original documents; they may be destroyed after scanning. If the documents are not available,
 explain in an attachment.
 A person who files a fraudulent claim could be fined up to $500,000, imprisoned for up to 5 years, or both. 18 U.S.C. §§ 152, 157, and 3571.

 Fill in all the information about the claim as of the date the case was filed. That date is on the notice of bankruptcy (Form 309) that you received.



 Part 1:        Identify the Claim

1. Who is the current
   creditor?
                                     Eby-Brown    Company, LLC
                                     ___________________________________________________________________________________________________________
                                     Name of the current creditor (the person or entity to be paid for this claim)

                                     Other names the creditor used with the debtor      ________________________________________________________________________

2. Has this claim been               ✔ No
                                     
   acquired from
   someone else?                      Yes. From whom? ______________________________________________________________________________________________________

3. Where should notices              Where should notices to the creditor be sent?                               Where should payments to the creditor be sent? (if
   and payments to the                                                                                           different)
   creditor be sent?
                                     Automne Heather
                                     _____________________________________________________                       _____________________________________________________
   Federal Rule of                   Name                                                                        Name
   Bankruptcy Procedure
   (FRBP) 2002(g)                    1415 W. Diehl Rd, 300N
                                     ______________________________________________________                      ______________________________________________________
                                     Number      Street                                                          Number      Street
                                     Naperville                 IL          60503
                                     ______________________________________________________                      ______________________________________________________
                                     City                       State             ZIP Code                       City                       State             ZIP Code

                                     Contact phone 630-536-3756
                                                    ________________________                                     Contact phone   ________________________

                                     Contact email   automne.heather@pfgc.com
                                                      ________________________                                   Contact email   ________________________



                                     Uniform claim identifier for electronic payments in chapter 13 (if you use one):

                                     __ __ __ __ __ __ __ __ __ __ __ __ __ __ __ __ __ __ __ __ __ __ __ __


4. Does this claim amend             ✔ No
                                     
   one already filed?
                                      Yes. Claim number on court claims registry (if known) ________                                  Filed on   ________________________
                                                                                                                                                  MM / DD       / YYYY



5. Do you know if anyone             ✔ No
                                     
   else has filed a proof             Yes. Who made the earlier filing?             _____________________________
   of claim for this claim?




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                                                Page 3 of 12

 Part 2:    Give Information About the Claim as of the Date the Case Was Filed

6. Do you have any number        ✔ No
                                 
   you use to identify the        Yes. Last 4 digits of the debtor’s account or any number you use to identify the debtor: ____ ____ ____ ____
   debtor?



7. How much is the claim?                          7,117,731.00 Does this amount include interest or other charges?
                                   $_____________________________.
                                                                              No
                                                                             ✔ Yes. Attach statement itemizing interest, fees, expenses, or other
                                                                             
                                                                                      charges required by Bankruptcy Rule 3001(c)(2)(A).


8. What is the basis of the      Examples: Goods sold, money loaned, lease, services performed, personal injury or wrongful death, or credit card.
   claim?
                                 Attach redacted copies of any documents supporting the claim required by Bankruptcy Rule 3001(c).
                                 Limit disclosing information that is entitled to privacy, such as health care information.

                                 Goods sold
                                 ______________________________________________________________________________



9. Is all or part of the claim    No
   secured?                      ✔ Yes. The claim is secured by a lien on property.
                                 
                                           Nature of property:
                                            Real estate. If the claim is secured by the debtor’s principal residence, file a Mortgage Proof of Claim
                                                             Attachment (Official Form 410-A) with this Proof of Claim.
                                            Motor vehicle
                                            Other. Describe:             _____________________________________________________________



                                           Basis for perfection:          Credit and Security Agreement
                                                                          _____________________________________________________________
                                           Attach redacted copies of documents, if any, that show evidence of perfection of a security interest (for
                                           example, a mortgage, lien, certificate of title, financing statement, or other document that shows the lien has
                                           been filed or recorded.)



                                           Value of property:                                 6,117,178.00
                                                                                         $__________________
                                           Amount of the claim that is secured:               7,117,731.00
                                                                                         $__________________

                                           Amount of the claim that is unsecured: $__________________ (The sum of the secured and unsecured
                                                                                                      amounts should match the amount in line 7.)



                                           Amount necessary to cure any default as of the date of the petition:               $____________________


                                                                                      12.00
                                           Annual Interest Rate (when case was filed)_______%
                                           ✔ Fixed
                                           
                                            Variable


10. Is this claim based on a     ✔ No
                                 
    lease?
                                  Yes. Amount necessary to cure any default as of the date of the petition.                  $____________________


11. Is this claim subject to a   ✔ No
                                 
    right of setoff?
                                  Yes. Identify the property: ___________________________________________________________________




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12. Is all or part of the claim    ✔ No
                                   
    entitled to priority under
    11 U.S.C. § 507(a)?             Yes. Check one:                                                                                               Amount entitled to priority

   A claim may be partly                   Domestic support obligations (including alimony and child support) under
   priority and partly                        11 U.S.C. § 507(a)(1)(A) or (a)(1)(B).                                                              $____________________
   nonpriority. For example,
   in some categories, the                 Up to $* of deposits toward purchase, lease, or rental of property or services for
   law limits the amount                      personal, family, or household use. 11 U.S.C. § 507(a)(7).                                          $____________________
   entitled to priority.
                                           Wages, salaries, or commissions (up to $1,*) earned within 180 days before the
                                              bankruptcy petition is filed or the debtor’s business ends, whichever is earlier.                   $____________________
                                              11 U.S.C. § 507(a)(4).
                                           Taxes or penalties owed to governmental units. 11 U.S.C. § 507(a)(8).                                 $____________________

                                           Contributions to an employee benefit plan. 11 U.S.C. § 507(a)(5).                                     $____________________

                                           Other. Specify subsection of 11 U.S.C. § 507(a)(__) that applies.                                     $____________________

                                          * Amounts are subject to adjustment on 4/01/ and every 3 years after that for cases begun on or after the date of adjustment.



 Part 3:    Sign Below

 The person completing            Check the appropriate box:
 this proof of claim must
 sign and date it.            ✔ I am the creditor.
                              
 FRBP 9011(b).                 I am the creditor’s attorney or authorized agent.
 If you file this claim        I am the trustee, or the debtor, or their authorized agent. Bankruptcy Rule 3004.
 electronically, FRBP
 5005(a)(2) authorizes courts
                               I am a guarantor, surety, endorser, or other codebtor. Bankruptcy Rule 3005.
 to establish local rules
 specifying what a signature
 is.                              I understand that an authorized signature on this Proof of Claim serves as an acknowledgment that when calculating the
                                  amount of the claim, the creditor gave the debtor credit for any payments received toward the debt.
 A person who files a
 fraudulent claim could be        I have examined the information in this Proof of Claim and have a reasonable belief that the information is true
 fined up to $500,000,            and correct.
 imprisoned for up to 5
 years, or both.
                                  I declare under penalty of perjury that the foregoing is true and correct.
 18 U.S.C. §§ 152, 157, and
 3571.                                                     8/17/2023
                                  Executed on date         _________________
                                                           MM / DD     /   YYYY




                                  ________________________________________________________________________
                                          Signature

                                  Print the name of the person who is completing and signing this claim:


                                  Name                   Automne Heather
                                                         _______________________________________________________________________________________________
                                                         First name                   Middle name                   Last name

                                  Title                  Director of Credit and Earned Income
                                                         _______________________________________________________________________________________________

                                  Company                Eby-Brown Company, LLC
                                                         _______________________________________________________________________________________________
                                                         Identify the corporate servicer as the company if the authorized agent is a servicer.



                                  Address                1415  W. Diehl Rd, 300N
                                                         _______________________________________________________________________________________________
                                                         Number             Street

                                                         Naperville                                     IL           60563
                                                         _______________________________________________________________________________________________
                                                         City                                                       State         ZIP Code

                                  Contact phone          630-536-3756
                                                         _____________________________                              Email automne.heather@pfgc.com
                                                                                                                              ____________________________________




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                                                                  C USTOMER INFORMATION
    Legal Business Name: Ir                      Verdun €5
    D/B/AName:          Hart                     Soves
    Store Address: 332) Ww. Agena wiv Rol                                                                         City: “Rotura               Fiend .
     tate:   LL       Zip    LeODOE              _            Couny: _          Coo)               Business Phone: Ti                  - 419 - RE       faa
    Fax           N08 -2BlL- 5240                                                  pm. ve                    ry $12 Ich aonail. com
   A/P Contact Name: re.oiner Barclay          AP        Contact Phone #_10% - Alele - p6LLS
 | CoporationID#: $3: 216270      Ste of Incorporation: _ AL. _ Sales Tax fe A343 - Lig
   Yearsinbusiness:          (this                            location) Business Structure: EI Proprictor                          DO Parmership       WM Corporation
   Hoursof Operation: AM__         Lr pM Hil Hom                                                            Storc Time Zone:       EST:I}     CST: HA             OTHER: 0
   Building: Owned © or Rented BX” Naofme
                                        Landlord: _ (pes fumevica.   ardner®s
   Contact Name: __Wn.(D “edolow                  Contact Phono: 410 - 134 ~ pep Z—

                                   PLEASE LIST ALL OWNERS AND PARTNERS BELOW
                            {If additional room is needed for additional parimers, please
                                                                                          fist on the back of this page)
     mo           Paik ae. Piao.                                                                             Nickname:         PA ¢,     Rigel                    a
   Address: A 2.6% besgstens                                    CL                        cr                         0C\and
 sme         \1_-.                                                                                                                          Parl
                                    0X2.                                        Ema            ra0erizok @ aman                               corn.
  Home Phos:                a                    —                               Celi Phone:           “TA
                                                                                                         Lp 0 4410 weed
1Social Security #_                                                             Drivers License #:                                      oe          Beater            YL,
J Position/ Title:          {£D                           .                     . Percen
                                                                                      of Busines
                                                                                           tag   s owned
                                                                                                    e :                         \ 0%
: Name:               nt                     me                                           oo                 Nickname:    _.
fades:                                                                                             City...
| State:                          Zip:               iN                         Email:
  Home Phone:                                .            e                     Cell Phone:                   .                                               i
| Social Security           4:                                    Driver's License#:
                                                                                                                                                    State:
  Position / Title:   _     "                    —                 Percen    of ta
                                                                                Businesge
                                                                                       s owned: a
  Name:                      2                                                  ee                          . Nickname:

Ie                                zip                                           Email;                  )
 Home Phone;                                                             —...   Cell Phone:                          —
J Social Security #;__                   ]                    cre.              Driver's License #:                            a                    State:
| Positions Title:                                                   .          Percenoftag
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                                                                   CREDIT AND SECURITY AGREFMENT
                                                                          TERMS                    TION
                This Credit and Security Agreement {iis “Agreement”} is being
      “Customer”) and Eby-Browss Company, LLC, a Delaware limited                 entered into by and among the undersigned {collectively with its
                                                                        lisbility company {"Eby-Brown™), In consideration of Customer              owners,
      Inventory (as defined below), Custorner and Eby.Brown
                                                            agree as follows:
                                                                                                                                          being advanced
      |8



                materials, gonds in process, finished goods, and other tangible
                                                                                personal property, now owned or hereatter aequired from
                for sale or used or consumed in Customer's business, whether                                                                 Eby-Brown and held
                                                                                located at the address listed for Customer above or at any
                Customer may have transferred such Inventory {including without                                                              other premises where
                                                                                   limitation cigarettes, tobacco products, confectionery products
                and sumdries).                                                                                                                     , food products,
                Iuterext on Unpatd Balances. Any unpaid balances will accrue
                accrue on the date on which Customers account falls past due interest at the mate of 12% per year, compounded monthly. Interest will begin to
                                                                            in accordance with the credit terms extended by Eby-Brown to
                                                                                                                                         Customer.
                Seteff.   Customer agrees that any credit balance or other sums
                                                                                credited by or payable and due from Eby-Brown to
                cash, cash equivalents, securities, goods, instruments, or                                                       Customer, or any monies,
                                                                          other
                                                                           assets of Customer in the possession and contro} of Eby-Bro
                                                                                                                                        wn or its bailey for
                customer of Eby-Brown in which Customer, or any owner
                                                                        of Customer, owns an interest. If Customer is a partners
                Eby-Brown may set off credits owed to Custome                                                                    hip, Customer agrees that
                                                              r against debs or obligations of any entity owned,
                Customer.                                                                                           in whole or in part, by any partner of

                Returned Payment Charges,           Eby-Brown reserves the right to charge and collest
                or ACH payment retumed by Customer's hank,                                             a service charge   as allowed by applicable law for any check

                                 rl              » Customer heseby pledges and grants to Eby-Bro   wn, and hereby creates a continuing first priority lien and security
                interest in favor of Eby-Brown in and fo all of its
                                                                       right, title and intcrest in and to the following, wherove
                                                                                                                                  r located, whether now existing or
                nature including atl accounts, goods (including inventor
                                                                             y and equipment), documents, instruments, promisso
                credit and leiter-of-credit rights, seeuritics and all other                                                        ry notes, chattel paper, lettess of
                                                                              mvestme  nt property, general intangibles (including all payment
                deposit accounts, and any
                                        other contract rights or rights to the payment of money; and                                              intangibles), money,
                Code) and products of each of the foregoing {includi                                 (b) all Pracoeds (as defined in the Uniform Commezcip!
                                                                         ng fneurance Proceeds). This grant of security
                performance by Customer of it obligations under this                                                       interest is to secure payment and
                                                                      Agreement,
                          m   of Si         In           d   Further Assuran      Custome
                                                                                     r irrevocably authorizes Eby-Brows at any time
            statements and amendments thereto related fo the Collater                                                                      to file any financing
                                                                        al, including any financing or continuation statements
                                                                                                                                   or other documents for the
            the prior wrilten consent of Eby-Brown, Customer will
                                                                     not allow any adverse financing statement covering any
            public office. Customer appoints Eby-Brown as jis ageat and                                                         Collateral to be on file in any
                                                                           alomey-in-fact for the purpose of executing, signing, filing
            alt finaircing statements or other jnstruments necessary or                                                                  and recording any and
                                                                         desirable by Eby-Brown to accomplish the purposes of
            agrees to provide all information required by Eby-Brown                                                                 this Agreement. Customer
            requested by Eby-Brown to perfect and protect the security promptly to Eby-Brown upon request. Customer will take all actions as may be
                                                                           interest of Eby-Brown in the Collateral or to enable
            enforce its rights and remedies under this Agreement,                                                                 Eby-Brown to exercise and
            Representations.          Customer represents and warrants that
                                                                         the statements and representations made by Custome
            the “Credit Application” and the “Customer Verifica                                                                 r in this Agreement (including in
                                                                   tion and Authorization Porm") ave tre, correct and
            authority and legal right to enter into this Agreement                                                           complet
                                                                     and to pledge the Collateral pursuant to this Agreement. e. Customer has full power,
            authorized, executed and delivered by Customer and                                                                     This
                                                                    constitutes g legal, valid and binding obligation of Custome Agreement has boen duly
            with its texms, subject to applicable bankrupteyor other                                                                 r enforceable in accordance
                                                                      similar laws affecting creditors’ rights generally and
                                                                                                                              10 equitable principles.
 8,        Covenants,
           8.       Customer will not, without providing at least thirty
                                                                           (30)
                    legal name, identity, type of organization, jurisdiction days’ prior written notice 16 Eby-Brown, discontinue its business or change its
                                                                               of organization, or location of ite chicf executive office
                    business.                                                                                                             or its principal place of
           b.      Except for Inventory seld by Customer in the ordinar
                                                                         y course of business, Customer will keep the Collater
                   Customer in thie Agreement or at such place(s) identifi                                                     al st the promises identified by
                                                                           ed by Customer to Eby-Brown in writing,



           4.      Except for the sale by Customer of the Inventory in
                                                                           the ordinar
                                                                                  y course of business, Customer will not sell, offer
              assign or otherwise transfer, grant any option
                                                                 with respect to, restrict, or grant; create, permit                     to sell, dispose of, convey,
              secunty interest, option, right of first offer,                                                        or suffer to exist any mortgage, pledge, lien,
                                                              encumbrance or other testriction of any nature
                                                                                                                 whatsoever on any of the Collateral,
           eCustomer           will keep the Collateral in good order and condition,
                                                                                         Customer will permit Eby-Brown to inspect the Collate
                   time, wherever located,                                                                                                       ral at any reasonable


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              Customer will comply with sll applicable laws, regulations and ordinance
              consents and permits that it needs to carry out its obligatio                  s, Customer will maintain in effet all licenses, authorizations,
                                                                           ns under this Agreement.
        8    Customer will pay promptly when due all taxes, assessme
                                                                          nts, govemmentat charges, and levies upon the Collatera
              connection with this Agreement or the use of the Collatera                                                                 l or incurred in
                                                                         l,
  2.    Events of Default, The occurrence of any of the followin
                                                                 g will constitute an event of default under this Agreement:
        a    Customer fails to pay any amount owed to Eby-Brown
                                                                      under this Agreement and such failure continues for
             applicable due date,                                                                                             fourteen (14) days sfier the
             Any representation oF warranty made by Customer to
                                                                   Eby-Brown herein is incorrect in any material respect
             representation or warranty was made,                                                                            on the date 8s of which such
          Customer fuils to observe or perfonm any covenant, obligati
         fourteen (14) days after written notice by Eby-Brown               on or agreement contained in this Agreement and such
                                                                  to Customer,                                                           Failure continues for
         Customer (i) becomes insolvent or admits its inability
                                                                     to pay its debts generally as they become due; (i) becomes
         involuntarily, to any proceeding under any domestic or                                                                        subject, voluntarily or
                                                                       foreign bankruptcy or insolvency law, which is not fully
         business days or is not dismissed or vacated within sixty                                                                   stayed within seven [44]
         or (iv) has a receiver, trustee, custodian or similar agent   (60)  days after filing; (iii) makes a general assigmnent for the benefit of creditors;
                                                                       appointed by order of any court of competent jurisdic
         any meterial portion of its property or business,                                                                      tion to take charge of or sell
  10. Righ  and Remedie
                  ts s. Upon the occurrence of an event of default
                                                                             and at any time thereafter during the continuance of
                                                                                                                                    such event of default
      4, Eby-Br     own will have the rights and remedies of 5 secured
                                                                              party under the Uniform Commercial Code in
             provided herein or in any other instrument or paper                                                         addition to the rights and remedies
                                                                   executed by Custoiner in favor of Eby-Brown,
       b. Eby-Brown may require Customer to assemble the Collater
          Brown that is or are reasonably convenient to                   al and make it available 10 Eby-Brown at the place
                                                           Customer and Eby-Brown.                                              or places designated by Eby
     [8   Eby-Brown may without any notice, demand, or lege!
                                                                       process of any kind, take immediate posscssion of
          addition to Collateral of which it already has possess                                                             any or all of the Cofjateral (in
                                                                 ion), wherever it may be found, and for that purpose
          way be found, and may enter into any of Custom                                                                 , may pursue the same witersver it
                                                               er's premises where any of the Collateral may
         remove, keep and store any of the Collateral until                                                         be, and search for, take possession of,
                                                                same are 30M or otherwive disposed of, and Eby-Br
         same in any of Customer's premises without
                                                         cost to Eby-Brown,
                                                                                                                        own will have the tight to store the
     d. All rights and remedies provided herein are cumulative
                                                                      and are not exclusive of any rights or remedies provide
                                                                                                                               d by law.
 1. Miscellangous.
    a, Amendment. This Agreement may only be
                                                        amended or modified in a writing signed by an authori
                                                                                                                  zed representative of each party.
    b.
         Brown: No failureto gxoreise, or delay in exercising,
                                                                   any right, resedy, power or privilege arising from this
         construed as 8 waiver thereof No single or partial                                                                  Agreement operates or may be
                                                                   cxcrise of any right, remedy, power or privilege
         further exersise thereof or the exercise of any other                                                            hereunder preciudes any other or
                                                                right, remedy, power or privilege.
        Expenses, In the case of any event of default by
                                                                Customer, Customer agrees fo pay all reasonable
        Brown in its enforcement of this Agreement and the                                                            costs and expenses incurred by Eby.
        collection agency foes, atiomey’s fees, and court           collection of monies owed by Customer to Eby-Brows,
                                                             costs,                                                             including without limitation




            Governing Law. THIS AGREEMENT WILL BE GOVERNED
                                                           BY AND CONSTRUED UNDER THE LAWS OF THE STATE
            Janios WITHOUT REGARD TO CONFLICTS-
                                                OF-LAWS PRINCIPLES THAT WOULD REQUI                         OF
                 RLAW,                                                              RE THE APPLICATION OF ANY
                    f  Jur   I. CUSTOMER HEREBY IRREVOCABLY
            APPLICABLE LAW, ANY RIGHT TO JURY                     WAIVES, TO THE FULLEST EXTENT PERMI
                                               TRIAL IN ANY ACTION, SUIT, COUNTERC                      TTED BY
            i] CONNECTION WITH THIS AGREEMEN                                       LAIM OR PROCEEDINGS UNDER OR
                                              T OR THE COLLATERAL, OR OTHERWIS
            BROWN,                                                                E BETWEEN CUSTOMER AND EBY-




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             IN WITNESS WHEREOF, Customer has executed this Credit and
                                                                       Secori ty Agreement as of the date written below, to be effective as
  the date delivered to and accepted by Eby-Brown,                                                                                          of




  Legal Business Name:     \N5           Nondwaces.          »                  d/b/a Names _      \ Hort   Shoves
  Printed Name; . Huwo           lal          Vigele.            —         ;,   Dates         01 -3\-2070
 * Owner's Sigasture:
                                                                      a          ile,    ;   LED
                                  et      i              3       ~~   or
                                 =                       pt
                                                        rl
              ©
  Legal Business Name:
                                                                                d/b/a Name:
  Printed Name:
                                                                                Date:
  Owner's Signature:
                                                                                Title:




 Legal Business Name:                .                                          Va Name: _
 Printed Name:
                                                                                Date:
 Owner's Sigaature;
                                                                                Title:




 RECEIVED AND ACCEPTED BY:
 Eby-Brown Company, LLC rep




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   DBANmme:.            ....    _\        Yao      Sve         s          a                                         ]
   Store Address: ~                                                                                                                              —       _
                         A554               5.    oth           CA.             .                .       }
   ci: Ov\oand                 Yoarle                                 sme                  \L_                      zip       plsZ
  Business Phone: 7 D8 Aol,
                          ~Ol2 8 2.                Cel Phone: abe -A                     -ivb pagi LT1b8 - 28                 - 5240.
  Owner Name: _MAurafnle TAL zeke                                     Authorized Bank Signor. Mui alate                            Rizek             —
         —                                                 TRADE               REFERENCES
             : i Name                                                                                           i             Lo
                                     :      or    7        Address                                     Telephone              Co           Fax




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                ER:                                                            I
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                                                         CUSTOMER BANK INFORMATION
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 | Bank Adress: __ 3311                   15M      SY.               on             bund.              Parle gimic zig oo Z
 | Bank Phos #:         168-03               LH oD                        oe        Bonk Fax:_
{ Bank Checking Account 8:


Customer agrees that Eby-Brown Company,
                                              LLC may verify any and all information provi
Such verification may include running                                                      ded on this application.
                                            credit reports, checking references and
contacting other parties with whom you                                                banking information, sud
                                         may do business. Customer agrees that Eby-
run credit reports to verify payment and                                             Brown Company, LLC may
                                         credit history.

AUTHORIZED SIGNATURE:                            ——                                         re
Signature;
                                                                                    .
Print Name:       _ tA wwa lo le                 Cazede
Title:                  Led                          ’
Date:             Lc
                   B\ 2072p
                                                                                                             FORM 363A (revised 3/19/14)

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                                    Page 10 of 12



                             INTEREST CALCULATION

             12% per year compounded monthly on unpaid balance of
             $6,117,178.84 per Credit & Security Agreement.


                      Computation Date:       02/15/2022 – 05/22/2023



                          Total % accrued to date of Petition

                                                         Total Due:

             $1,000,553.35 + 6,117,178.84 =              $7,117,732.19
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ACTION ORDER                                                                     2022LA000217-929
                                             Page 11 of 12
                                                      UNITED STATES OF AMERICA
  STATE OF ILLINOIS                                                                                                 COUNTY OF DU PAGE
                                 IN THE CIRCUIT COURT OF THE EIGHTEENTH JUDICIAL CIRCUIT



   EBY-BROWN COMPANY LLC ET
   AL.
                                          Plaintiff
                                                                 2022LA000217
                                                                                                                   FILED
                        -VS-                                    CASE NUMBER                                       23 May 24   PM 02: 11

   IYS VENTURES LLC ET AL.
                                        Defendant
                                                                                                                      CLERK OF THE
                                                                                                                  18TH JUDICIAL CIRCUIT
                                                                                                                DUPAGE COUNTY, ILLINOIS




                                                              ACTION ORDER

 This matter having come before the Court, the Court having jurisdiction and being fully advised in the premises:

 IT IS HEREBY ORDERED as follows:

 The case is continued to 06/22/2023 in 2014 at 10:30 AM for STATUS.
 Description: Citations


   The Clerk of the Court is ordered to strike the future date(s) of 06/07/2023 2014 9:00 AM.


 This cause coming on for proveup, the parties appearing by counsel and a default judgment having been previously entered:

 IT IS ORDERED THAT:

 1. The court being advised that defendants IYS Ventures and Rizek have filed for bankruptcy protection, all matters against said
 defendants are stayed.

 2. Attorney Garbis representing defendants Samara and I Mark has objected on the basis that the pleadings do not contain specific
 breakdowns of damages for each defendant.

 3. Over objection and for the reasons stated on the record, judgment is entered against defendants ISAM SAMARA and IMART
 STORES, LLC in the amount of $7,945,539.20 (principal amount of $6,117,178, interest through 5/15/23 of $984,360.49, Attorney fees
 of $344,000, costs of $8,709.04, punitive damages of $500,000). The court further finds that a punitive damage award is supported by
 the evidence of violations of the Illinois Consumer Fraud Act including but not limited to use of phony bank accounts, check kiting and
 fake electronic payments.

 4. Prior injunctive relief to remain as permanent injunctive relief.

 5. Pursuant to Supreme Court Rule 304 (a) there is no just reason for delaying enforcement or appeal of this order.




  Submitted by: JUDGE DAVID E SCHWARTZ
  DuPage Attorney Number:                              PRO SE
  Attorney for:
                                                                                      JUDGE DAVID E SCHWARTZ

                               CANDICE ADAMS, CLERK OF THE 18TH JUDICIAL CIRCUIT COURT ©                                         Page 1 of 2
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ACTION ORDER                                                                   2022LA000217-929
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                                                                               Date: 05/24/2023




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